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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. THOMAS J. AQUILINO, JR., SENIOR JUDGE
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MEYER CORPORATION, U.S.,                         :
                                                 :
                              Plaintiff,         :
                                                 :
                  v.                             : Court No. 13-00154
                                                 :
UNITED STATES OF AMERICA,                        :
                                                 :
                              Defendant.         :
________________________________________________:

                        DEFENDANT’S RESPONSE TO
              PLAINTIFF’S MOTION FOR A STATUS CONFERENCE


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Dated: December 30, 2022
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. THOMAS J. AQUILINO, JR., SENIOR JUDGE
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MEYER CORPORATION, U.S.,                         :
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                              Plaintiff,         :
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                           DEFENDANT’S RESPONSE TO
                 PLAINTIFF’S MOTION FOR A STATUS CONFERENCE

       Defendant, United States (the Government) respectfully submits its response to

plaintiff’s, Meyer Corporation, U.S. (Meyer), motion for a status conference, Docket No. 196, as

modified by its December 12, 2022 motion to correct, Docket No. 197. 1

                                        BACKGROUND

       Meyer commenced this action on April 16, 2013, seeking first-sale treatment for its

imported cookware from the People’s Republic of China, and duty-free treatment under the

Generalized System of Preferences (GSP) for certain cookware imported from Thailand, a

beneficiary developing country (BDC). Summons, Docket No. 1. After extensive discovery, the

parties cross-moved for partial summary judgment on whether cookware sets containing a non-

de minimis, non-BDC component could qualify the entire set for GSP treatment; and whether

Meyer’s imported cookware is viably valued at the price between the Thai producer and a

middleman (first-sale price), both of whom are related to Meyer. Meyer Corp., U.S. v. United



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 The Government will not be responding to the motion to correct, to which we consented,
because this correction accurately reflects plaintiff’s error in attempting to communicate with
Government counsel.
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States, 255 F. Supp. 3d 1348 (Ct. Int’l Trade 2017) (Meyer I).

        On the set issue, the Court determined that the presence of a non-BDC component in a set

would not preclude BDC components from receiving GSP treatment, although such treatment

would not extend to a non-BDC component. Meyer I at 1355-59. However, the issue of whether

the Thai-made components were entitled to duty-free treatment under the GSP was yet to be

determined.

        In determining whether first-sale could present a viable value for the related entities, the

Court found that the Government had not waived the issue of Meyer’s failure to provide its

parent’s financial information as requested by during discovery. Meyer I at 1360-61. The Court

further held that “[a]ll of the entities relevant to that issue [i.e. dealing at arm’s length] are

related, and therefore the financial information pertaining to the parent is also relevant to

examining whether any non-market influences affect the legitimacy of the sales price.” Meyer I

at 1361. Finally, after noting that first-sale transaction issue revealed disputed material facts, the

Court required the parties to confer and propose how to proceed. Meyer I at 1362.

        Ultimately, a trial was held from October 7 to October 11, 2019 on the issue of whether

certain Thai cookware had undergone double substantial transformation and satisfied the

requirements for duty-free treatment under the GSP; and the issue of whether the first-sale

transaction price was a viable value for the imported merchandise. Between the 2017 Meyer I

decision and the October 2019 commencement of trial, Meyer did not amend its discovery

responses to include its parent’s financial information. Although Meyer presented direct

testimony from five witnesses at trial, such testimony did not include witnesses from Meyer

Manufacturing Company Limited (Meyer Hong Kong) or from Meyer International Holdings

Limited (Meyer Holdings), the direct parent company of Meyer, the Thai Producer, Meyer



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Macau, Meyer Hong Kong, and the indirect parent of the China Producer.

        After trial, the parties submitted competing findings of fact and conclusions of law. The

Court issued its decision on March 1, 2021. Meyer Corp., U.S. v. United States, Slip Op. 21-26,

2021 WL 777788 (Ct. Int’l Trade Mar. 1, 2021) (Meyer II). After considering the parties’ post-

trial submissions, the Court adopted the Government’s recital of the facts from trial. Meyer II at

*50. The Court concluded that GSP treatment was not available for Thai cookware

manufactured from steel discs obtained from the People’s Republic of China because no double

substantial transformation of the discs had occurred by the Thai manufacturing process. Meyer

II at *50.

        The Court further held that “[b]ased on the applicable law and the evidence adduced at

trial, the plaintiff has also failed to establish that it should be entitled to use the transaction value

between the China producer and Meyer Hong Kong or the Thai producer and Meyer Macau

(‘first sale’) for the appraisement of the imported cookware.” Meyer II at *50. Although the

Court noted that, for the “all costs plus profit” test, costs are critical and the inputs from the PRC

are suspect, it also found that “no CBP regulation requires that the ‘firm’ mentioned in 19 C.F.R.

§152.103(l)(1)(iii) be the ‘parent’ of the importing party.” Meyer II at *50.

        But even if the costs inputs were not suspect, the Court observed that the parent, “Meyer

Holding[,] presumptively had the ability to influence the price paid or payable for them.” Meyer

II at *51. Moreover, “[w]ithout financial statements, the court has no concept of the extent to

which the finances of the Meyer group units are truly independent ‘silos’ of one another, or the

extent to which there might have been state influence or assistance to some degree.” Meyer II at

*51.

        On April 29, 2021, Meyer appealed the Court’s decision. The outcome of that appeal is



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discussed in the next section.

                                         THE MOTION

        In its revised status conference motion, plaintiff seeks a Court conference “for the

purpose of discussing [with] the parties the most efficient way to advance this litigation forward

after issuance of the Federal Circuit Court of Appeals mandate.” Docket No. 197-2 at 1.

However, the formal mandate, dated October 3, 2022, was issued “[i]n accordance with the

judgment of [the appellate court], entered August 11, 2022.” Docket No. 193. The time for

either party to file a petition for writ of certiorari with the U.S. Supreme Court ended on

November 9, 2022. No such petition was submitted by either party.

        The August 11, 2022 judgment affirmed the Court’s “denial of duty-free treatment for the

cookware manufactured in Thailand.” Meyer Corporation, U.S. v. United States, 43 F.4th 1325,

1331-32, (Fed. Cir. 2022) (Meyer III). Further, that judgment held that the Court misinterpreted

the Federal Circuit’s decision in Nissho Iwai American Corp. v. United States, 982 F.2d 505

(Fed. Cir. 1992), by requiring plaintiff to “show the absence of all ‘distortive nonmarket

influences.’” Meyer III, 43 F.4th at 1332. As a result of the misreading of Nissho Iwai, the

Federal Circuit “vacate[d] and remand[ed] for the court to reconsider whether Meyer may rely on

the first-sale price.”

                                 COURT ANNEXED MEDIATION

        To the extent the Court would like to hold a status conference in this matter, the

Government stands ready, willing, and able to participate, should the Court find a conference

helpful. We defer to the sound discretion of the Court for this request. However, as we explain

further below, the evidentiary record of this case shows that a conference is not necessary for the

Court to conduct its reconsideration of whether Meyer may rely on the first-sale price, in



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accordance the Federal Circuit’s judgment. Similarly, Meyer’s suggestion that “Court Annexed

Mediation is likely to be helpful,” Docket No. 197-2 at 3, is premature. It assumes that this

Court, upon reconsideration of an extensive trial record, would be incapable of rendering a

judgment after eliminating consideration of the potential effects of the People’s Republic of

China being a non-market economy from its prior analysis, or that the Court would not have

already scheduled a conference if it required assistance from the parties.

       The Government submits that, based on the trial record made before it, the Court’s

reconsideration of the credible and admissible evidence adduced at trial leads ineluctably to the

conclusion that Meyer failed to establish entitlement to first-sale value for the appraisement of its

imported cookware. Therefore, no mediation is necessary.

                                   MOTION FOR RETRIAL

       Meyer proposes that “retrial is an appropriate way to move this litigation forward on a

record void of the nonmarket economy issue, which largely decided the previous judgement

[sic].” Docket No. 197-2 at 4. In support of its proposal, Meyer directs the Court to its “broad

discretion in deciding a Rule 59 motion for reconsideration or rehearing.” Id. Meyer’s proposal

should be rejected for several reasons.

       First, Meyer relies upon U.S. Court of International Trade Rule 59. However, under Rule

59, Meyer’s request is late. Rule 59(b) provides that “[a] motion for a new trial or rehearing

must be served not later than 30 days after the entry of judgment or order.” The Court’s

judgment was entered on March 1, 2021. This motion was originally filed on December 9, 2022.

       Next, Meyer misapprehends the Court’s decision by claiming it was largely decided

based on the nonmarket economy issue. Although the Court observed that “the real costs of

inputs from the PRC are suspect, given its status as a nonmarket economy country,” the Court’s



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analysis continued:

              Even if “true” costs of such inputs could be determined, Meyer
              Holding presumptively has had the ability to influence the price paid
              or payable for them, for example by providing its subsidiaries access
              to credit and capital on terms that are not available to competitors
              without the same level of bargaining power with creditors, or even
              at “below market” rates. Without financial statements, the court has
              no concept of the extent to which the finances of the Meyer group
              units are truly independent “silos” of one another, or the extent to
              which there might have been state influence or assistance to some
              degree. Statutory assists do not encompass financial assistance, of
              course, but the broader concern here is over market-distortive
              influence, either with respect to the plaintiff directly or the provision
              of inputs generally.

              The most that plaintiffs’ witnesses could testify to was that they
              were unaware of any such assistance, and to a person they flatly
              denied that the PRC government provided any assistance or
              influence whatsoever, arguably a dubious proposition. At trial, the
              defendant only lightly explored the extent to which such
              considerations might be considered market-distortive. But then
              again, the defendant never had the ability to probe deeper, in part
              because it was never provided the financial information it requested
              in discovery in order to be able to ask or answer probing questions.

              The court understands that the Meyer parent is not subject to this
              litigation and that the plaintiff, as its “independent” subsidiary, can
              claim an inability to obtain such information from it. However,
              given that the parent has an interest in seeing these types of matters
              resolved favorably, it is therefore presumed to be forthcoming, even
              unprompted, to provide whatever CBP deems necessary to assist in
              their resolution, and the fact that in that regard there has apparently
              been considerable “resistance” throughout this case to that not
              unreasonable discovery request and the “assistance” that the
              parent could have provided its subsidiary to address necessary
              questions with respect to concerns over nonmarket influences,
              speaks volumes.

              All of the foregoing leads the court to doubt that accurate
              ascertainment of the “true” value of the “price paid or payable” at
              the first sale level in the customs duty sense has been demonstrated
              in this case.

Meyer II at *50-51 (emphasis added).



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       As the Court’s analysis shows, Meyer’s failure to provide the financial information

requested by the Government during discovery provided an independent reason as to why Meyer

could not demonstrate a true first-sale value absent of influence—not from a nonmarket

economy country—but from the relationships of the related parties. And Meyer had been

forewarned by the Court’s August 2017 decision as to the importance of this financial

information but chose not to supplement its discovery responses.

       Further, “[a]lthough this Court may exercise such discretion to rectify a significant flaw

in the conduct of the original proceeding, [t]he purpose of a rehearing is not to relitigate the

case.” Tianjin Magnesium Int'l Co. v. United States, 36 C.I.T. 1698, 1699 (2012) (quotations

and citations omitted). As discussed above, an extensive record was developed before the Court

during the five-day trial. This record is more than sufficient for the Court to conduct its

reconsideration.

       Finally, the Federal Circuit’s holding that Nissho Iwai’s ‘“nonmarket influences’ just

refers to influences growing out of the relationship of buyer and seller that distort the ‘price paid

or payable’” coupled with its “remand for the court to reconsider whether Meyer may rely on the

first-sale price” negates any need for a motion for retrial. Meyer had its opportunity to make its

case for first-sale treatment. Meyer’s request for a retrial is inconsistent with Rule 1 of the

Court’s rules to “secure the just, speedy, and inexpensive determination of every action and

proceeding.”




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                                         CONCLUSION

       For the foregoing reasons, the Court should deny Meyer’s invitations to refer this matter

to court annexed mediation and/or retry this matter. Instead, in accordance with the Federal

Circuit’s direction, the Court should reconsider the record made before it to determine, without

consideration of nonmarket economy country effects, whether Meyer may rely on the first-sale

price. Nevertheless, to the extent the Court would like to schedule a status conference in this

matter, the Government stands ready, willing, and able to participate.


                                             Respectfully submitted,

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                                             PATRICIA M. McCARTHY
                                             Director

                                      By:    /s/ Justin R. Miller
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Dated: December 30, 2022




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                  v.                             : Court No. 13-00154
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________________________________________________:


                             CERTIFICATE OF COMPLIANCE

       I, BEVERLY A. FARRELL, a Senior Trial Attorney in the Office of the Assistant

Attorney General, Civil Division, Commercial Litigation Branch, International Trade Field

Office, who is the attorney responsible for Defendant’s Response to Plaintiff’s Motion for a

Status Conference, relying upon the word count feature of the word processing program used to

prepare the response, certify that this memorandum complies with the word count limitation

under the Court’s chambers procedures and contains 2,137 words.

                                             /s/ Beverly A. Farrell
                                             Beverly A. Farrell
